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                      UNITED STATES COURT OF APPEALS
                                                                    FILED
                              FOR THE NINTH CIRCUIT
                                                                   MAY 10 2023
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 FEDERAL TRADE COMMISSION,                   No. 22-56012

                Plaintiff - Appellee,
                                             D.C. No. 3:18-cv-01388-LAB-WVG
   v.                                        U.S. District Court for Southern
                                             California, San Diego
 TRIANGLE MEDIA
 CORPORATION, a Delaware                     ORDER
 corporation, AKA Beauty and Truth,
 AKA E-Cigs, AKA Phenom Health,
 AKA Triangle CRM; et al.,

                Defendants,

   v.

 WELLS FARGO & COMPANY;
 WELLS FARGO BANK, N.A.,

                Movants - Appellants,

 ------------------------------

 THOMAS W. MCNAMARA,

                Receiver - Appellee.


        The Court sua sponte grants appellee Federal Trade Commission a 1-day

extension of time to file the answering brief, which was not timely submitted. The

answering brief submitted by Federal Trade Commission on May 9, 2023 is filed.
         Case: 22-56012, 05/10/2023, ID: 12713211, DktEntry: 27, Page 2 of 2

        Within 7 days of this order, appellee is ordered to file 6 copies of the brief in

paper format with red covers, accompanied by certification (attached to the end of

each copy of the brief) that the brief is identical to the version submitted

electronically. The Form 18 certificate is available on the Court's website at

http://www.ca9.uscourts.gov/forms/.

        The supplemental excerpts of record submitted by Federal Trade

Commission on May 9, 2023 are filed. Within 7 days of this order, appellee is

ordered to file 3 copies of the excerpts in paper format securely bound on the left

side, with white covers.

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT
